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     CHRISTIAN IVAN BARRON-RUEDA
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. F 12-40 LJO
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
                                                         REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   CHRISTIAN IVAN BARRON-RUEDA,                        RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable LAWRENCE J. O’NEILL
16
17             Defendant, CHRISTIAN IVAN BARRON-RUEDA, by and through his attorney,
18   Assistant Federal Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA,
19   by and through its counsel, Assistant U.S. Attorney Kathleen A. Servatius, hereby stipulate as

20   follows:

21             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

22   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

23   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

24   pursuant to 28 U.S.C. § 994(o);

25             2.         On August 19, 2013, this Court sentenced Mr. Barron-Rueda to a term of 135

26   months imprisonment;

27             3.         His total offense level was 33, his criminal history category was I, and the

28   resulting guideline range was 135 to 168 months;

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1              4.         The sentencing range applicable to Mr. Barron-Rueda was subsequently lowered
2    by the United States Sentencing Commission in Amendment 782, made retroactive on July 18,
3    2014, see 79 Fed. Reg. 44,973;
4              5.         Mr. Barron-Rueda’s total offense level has been reduced from 33 to 31, and his
5    amended guideline range is 108 to 135 months; however, Mr. Barron-Rueda was subject to a
6    mandatory minimum term of 120 months, and,
7              6.         Accordingly, the parties request the Court enter the order lodged herewith
8    reducing Mr. Barron-Rueda’s term of imprisonment to a total term of 120 months.
9    Respectfully submitted,
10   Dated: November 12, 2014                           Dated: November 12, 2014
11   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
12
13   /s/ Kathleen A. Servatius                          /s/ David M. Porter
     KATHLEEN A. SERVATIUS                              DAVID M. PORTER
14   Assistant U.S. Attorney                            Assistant Federal Defender
15   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           CHRISTIAN IVAN BARRON-RUEDA
16
17                                                     ORDER
18             This matter came before the Court on the stipulated motion of the defendant for reduction
19   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
20             The parties agree, and the Court finds, that Mr. Barron-Rueda is entitled to the benefit
21   Amendment 782, which reduces the total offense level from 33 to 31, resulting in an amended
22   guideline range of 108 to 135 months; however, Mr. Barron-Rueda was subject to a mandatory
23   minimum term of 120 months.
24             IT IS HEREBY ORDERED that the term of imprisonment imposed in August 2013 is
25   reduced to a term of 120 months.
26             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
27   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
28

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1    reduction in sentence, and shall serve certified copies of the amended judgment on the United
2    States Bureau of Prisons and the United States Probation Office.
3              Unless otherwise ordered, Mr. Barron-Rueda shall report to the United States probation
4    office within seventy-two hours after his release.
5
     IT IS SO ORDERED.
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7         Dated:         November 13, 2014                    /s/ Lawrence J. O’Neill
                                                           UNITED STATES DISTRICT JUDGE
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     Stipulation and Order Re: Sentence Reduction      3
